       Case 1:11-cv-04409-WSD Document 32 Filed 09/08/15 Page 1 of 3




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

IN RE: WRIGHT MEDICAL                 )    MDL DOCKET NO. 2329
TECHNOLOGY, INC.,                     )
CONSERVE HIP IMPLANT                  )
PRODUCTS LIABILITY                    )    1:12-MD-2329-WSD
LITIGATION                            )
                                      )
This Document Relates To:             )
                                      )
1:11-cv-04409-WSD,                    )
David F. Piper and Christine          )
Piper v. Wright Medical               )
Technology, Inc. et al.               )

                         MOTION TO WITHDRAW

      COMES NOW George W. Walker, III, and respectfully requests leave to

withdraw as counsel for Plaintiffs in the above referenced case.    George W.

Walker, III is no longer employed with the law firm of Pope, McGlamry,

Kilpatrick, Morrison & Norwood, P.C. Plaintiffs will continue to be represented

by Pope, McGlamry, Kilpatrick, Morrison & Norwood, P.C. as their remaining

counsel of record. The withdrawal of the undersigned counsel will not prejudice

any party.

      Respectfully submitted this 8th day of September, 2015.

                                     /s/George W. Walker, III
                                     George W. Walker, III
                                     Georgia Bar No. 548316
Case 1:11-cv-04409-WSD Document 32 Filed 09/08/15 Page 2 of 3




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                             2
          Case 1:11-cv-04409-WSD Document 32 Filed 09/08/15 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I hereby certify that on September 8, 2015, I electronically filed the

foregoing Motion to Withdraw with the Clerk of Court using the CM/ECF system,

which will automatically send email notification of such filing to all counsel of

record.



                                     /s/George W. Walker, III
                                     George W. Walker, III
                                     Georgia Bar No. 548316
                                     The Finley Firm, P.C.




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